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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )             CASE NO. 8:06CR109
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )             TENTATIVE FINDINGS
                                              )
JORGE BOBADILLA-SALAZAR,                      )
                                              )
              Defendant.                      )

       The Court has received the Presentence Investigation Report (“PSR”) and the

government’s objections thereto (Filing No. 40). See "Order on Sentencing Schedule," ¶

6. The Court advises the parties that these Tentative Findings are issued with the

understanding that, pursuant to United States v. Booker, 2005 WL 50108 (U.S. Jan. 12,

2005), the sentencing guidelines are advisory.

       The government objects to the quantity of controlled substance attributable to the

Defendant in ¶ 22 and the base offense level 26. The plea agreement reached requires

a base offense level of 20 based on a quantity of at least 20 but less than 30 grams of

methamphetamine. The Court’s tentative findings are that, absent unusual circumstances,

the plea agreement should be upheld and the base offense level should be calculated as

level 20.

       IT IS ORDERED:

       1.     The Court’s tentative findings are that the government’s objections (Filing No.

40) to the PSR are granted;

       2.     The parties are notified that my tentative findings are that the PSR is correct

in all other respects;
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       3.     If any party wishes to challenge these tentative findings, the party shall file,

as soon as possible but in any event before sentencing, and serve upon opposing counsel

and the court a motion challenging these tentative findings, supported by (a) such

evidentiary materials as are required (giving due regard to the requirements of the local

rules of practice respecting the submission of evidentiary materials), (b) a brief as to the

law, and (c) if an evidentiary hearing is requested, a statement describing why an

evidentiary hearing is necessary and an estimated length of time for the hearing;

       4.     Absent submission of the information required by paragraph 3 of this order,

my tentative findings may become final;

       5.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 14th day of September, 2006.

                                                  BY THE COURT:

                                                  s/Laurie Smith Camp
                                                  United States District Judge




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